Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 1 of 50 PageID: 10082




                             Exhibit 14.18
                     United States’ Motion to Enter Consent Decree,
         United States v. Alden Leeds, Inc. et al., Civil Action No. 22-7326 (D.N.J.)
Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 2 of 50 PageID: 10083




                  EXHIBIT A-60
          AppendixA to OxyChem's Comments in Opposition to Proposed Consent Decree,
           United States v. Alden Leeds, Inc., et al., Civil Action No. 2:22-cv-07326 (D.Nj.)




                                                                                            ALCD-PUBCOM 0007004
   Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 3 of 50 PageID: 10084




CONFIDENTIAL
   Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 4 of 50 PageID: 10085




                             PRELIMINARY ASSESSMENT
                                   PITT-CONSOL
                                        Newark, NJ

                              APRIL 1998   Project No. D2PC 7059




                                        Prepared by




                             CORPORATE REMEDIATION GROUP
                                    An Alliance between
                             DuPont and The W-C Diamond Group

                                  Barley Mill Plaza, Building 27
                               Wilmington, Delaware 19880-0027




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    Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 5 of 50 PageID: 10086




                                     PRELIMINARY ASSESSMENT
                                             Pitt-Consol
                                             Newark, NJ




                                April 15, 1998              Project No. D2PC 7059




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                                                   Prepared by




                                     CORPORATE REMEDIATION GROUP
                                            An Alliance between
                                     DuPont and The W-C Diamond Group

                                         Barley Mill Plaza, Building 27
                                      Wilmington, Delaware 19880-0027




              L.
        John L. Riddle, Ph.D. ~~~~
                                                            (
                                                 Alan P. Egler
                                                                 L
S         Project Director                   Project Manager
                                                                                    Robert B. Genau
                                                                                    Senior Geologist




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   Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 6 of 50 PageID: 10087

                                                                                                               Project No. D2PC 7059
                                                                                                                        April 15, 1998
                                                                                                                                Page i



                                                                CONTENTS


          1.0 INTRODUCTION .................................................................................................            1
                    1.1 Site Description and Geographic setting....................................................                     1
                    1.2 Geologic Setting.........................................................................................       2
                    1.3 Regulatory/Investigative History ...............................................................                2

          2.0 HISTORICAL INFORMATION...........................................................................                         5
                    2.1 Site History ................................................................................................   5
                    2.2 Industrial History .......................................................................................      8
                    2.3 Raw Materials, Products, and Formulations .................................                          ........   8
                    2.4 Past Processes ............................................................................................     10
                    2.5 Interpretation of Aerial Photographs..........................................................                  11
                    2.6 Known Discharges .....................................................................................          14
                    2.7 Remediation Activities and Investigations ................................................                      15
                        2.7.1 1985 Woodward-Clyde Phase I Report (June 7,1985) .......................                                  15
                                   2.7.1.1 Geophysical Survey ............................................................              15
                                    2.7.1.2 Soil Characterization...........................................................            15
                                    2.7.1.3 Well Installation..................................................................         16
                                    2.7.1.4 Groundwater Sampling .......................................................                16
                                    2.7.1.5 Water Levels .......................................................................        16
                                    2.7.1.6 Soil Sampling......................................................................         16
                        2.7.2 1985 Woodward Clyde Phase II Report (November 8, 1985) ...........                                        17
                                    2.7.2.1 Well Installation..................................................................         17
                                    2.7.2.2 Hydraulic Conductivity.......................................................               17
                                    2.7.2.3 Pump Tests..........................................................................        17
                                    2.7.2.4 NAPL Study........................................................................          17
                                    2.7.2.5 Water Levels .......................................................................        18
                                    2.7.2.6 Groundwater Sampling .......................................................                18
                        2.7.3 1986 Weston Hydrogeological Study (January 1987)........................                                  18
                                    2.7.3.1 Well Installation..................................................................         18
                                    2.7.3.2 Pump Tests................:.....................:...................................        18


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CONFIDENTIAL                                                                                                                     DUPONT00119960
                                                                                                                                  ALCD-PUBCOM 0007008
   Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 7 of 50 PageID: 10088

      Project No. D2PC 7059
      April 15, 1998
      Page ii


                                                           CONTENTS
                                                            (Continued)


                              2.7.3.3 Groundwater Sampling .....................................:.................                  19
                              2.7.3.4 Water Levels .......................................................................          19
                  2.7.4 1986 Mittlehauser Coal Tar Waste Resource Recovery and
                        Remediation Feasibility Evaluation (March 1987) ............................                                19
                  2.7.5 1987-1994 NPDES Groundwater Monitoring....................................                                  21
                  2.7.6 1989 CH2M Hill Summary of Existing Environmental Data.............                                          21
                  2.7.7 1992 CH2M Hill Site Investigation Summary & Report of Findings
                        (February 1992) .................................................................................           23
                              2.7.7.1 Well Search .........................................................................         23
                              2.7.7.2 Tidal Study..........................................................................         24
                              2.7.7.3 Well Installation..................................................................           24
                              2.7.7.4 Groundwater Sampling .......................................................                  24
                              2.7.7.5 Groundwater Flow ..............................................................               25
                              2.7.7.6 Hydraulic Conductivity.......................................................                 25
                              2.7.7.7 Soil Sampling......................................................................           25
                              2.7.7.8 Lagoon Boundary Delineation ............................................                      25
                  2.7.8 1995 USEPA Request for Info (Re: Diamond Alkali Superfund Site,
                        Passaic River Study Area ................................................................... 25
                  2.7.9 1996 Ashland Chemical Company (Re: Results of Hydropunch
                        Groundwater Sampling) (August'5; 1996).........................................                             25
                  2.7.10 Investigative Costs ...........................................................................            26
             2.8 Sampling Data ............................................................................................         26
              2.9 Permits .......................................................................................................   26
                  2.9.1 RCRA Permit #NJD004948188 .........................................................                         26
                  2.9.2 Passaic Valley Sewage Commission (PVSC) Permit #20401072......                                              27
                  2.9.3 New Jersey Pollutant Discharge Elimination System (NJPDES)
                        Permit # NJO060704 ..........................................................................               27
              2.10 Enforcement Actions
              2.11 Fill Areas..............................:...................................................................     28
              2.12 Current Site Conceptualization ................................................................                  28



      Corporate Remediation Group




CONFIDENTIAL                                                                                                                         DUPONT00119961
                                                                                                                                     ALCD-PUBCOM 0007009
   Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 8 of 50 PageID: 10089
                                                                                      Project No. D2PC 7059
                                                                                               April 15, 1998
                                                                                                      Page iii



                                                   CONTENTS
                                                   (Continued)


               3.0 AREA OF CONCERN IDENTIFICATION                .............................................   30


                                                    FIGURES
               Figure 1    Regional Location Map
               Figure 2    Conoco Plant Diagram of Pitt Consol Chemical Company - Water Mains
                           and Fire Protection System Underground Lines (1981)
               Figure 3    Pitt Consol Base Map
               Figure 4    Pitt Consol AOC Map
               Figure 5    Cross Section A-A'
               Figure 6    Cross Section C-C'
               Figure 7    Shallow Water Bearing Unit Piezometric Map
               Figure 8    Deep Water Bearing Unit Piezometric Map


                                                   APPENDIXES
               Appendix A Sanborn Fire Maps
               Appendix B Response to Request for Information E.I. DuPont de Nemours and
                          Company Diamond Alkali Superfund Site, Passaic River Study Area
               Appendix C Boring Logs and Well Construction Diagrams
               Appendix D Analytical Results
               Appendix E Analytical Trend Plots




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                                                                                                       ALCD-PUBCOM 0007010
   Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 9 of 50 PageID: 10090
                                                                                       Project No. D2PC 7059
                                                                                                April 15, 1998
                                                                                                        Page 1


                                                  1.0 INTRODUCTION



               1.1 Site Description and Geographic setting

               The Pitt Consol site consists of approximately 37 acres and is located in Essex County at
               191 Doremus Avenue, Newark, New Jersey 07105. The facility ceased major
               manufacturing operations on May 23, 1983 and the entire facility was dismantled by
               January of 1986. The Pitt Consol site was primarily involved in the manufacture of
               alkylated phenols, particularly methyl phenol (cresol). There was an alkylation unit, a
               natural acid plant, a synthetic cresol plant, and several above ground tank and drum
               storage areas operated at this site.


               The site is located west of Doremus Avenue in Newark, New Jersey, adjacent to exit 15E
               of the New Jersey Turnpike (see Figure 1). The site is bordered on the south by the
               Nimco Company, to the west by Avenue P, to the north by Roanoke Avenue, and to the
               east by Devino Brothers property. The property consists of Block 5016, lots 1 and 3 and
               Block 5010, Lot 10.       The closest surface water body is the Passaic River, located
               approximately 600 feet to the east.

               The Pitt Consol site lies within an industrial zone along the Passaic River commonly
               referred to as the "Ironbound Section" of Newark because the area is enclosed by various
               rail lines. Prior to site industrialization, the entire area, which overlies flood plains and
               tidal mud flats, was covered with "historic fill" to allow development. The closest
               residential zones are located more than 2,000 feet to the west. The ground surface is
               generally flat and covered primarily with stone and asphalt. There is little topographic
               relief over the site, generally less than 3 feet, with topographic highs in the northern end
               of the property, and the topographic low in the southeast corner of the property. Drainage
               on the site is poor with standing water collecting in places. Currently the site is
               unoccupied, fenced, and secured. Regular security visits have been conducted twice a
               month by Dismantlement Consultants.


               Currently, chemical plants, recycling operations, oil terminals, trucking terminals, a
               power generating plant, a sewage treatment plant, and other industrial facilities can be
,              found nearby. These facilities are potential sources of contaminant releases to the
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                                                                                                ALCD-PUBCOM 0007011
     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 10 of 50 PageID:
                                       10091
         Project No. D2PC 7059
         April 15, 1998
         Page 2


         environment. Surrounding industrial properties immediately adjacent to the Pitt Consol
         site are:



            piny                            oca `on                        hype o Aw5we"a ;i'oi>I'~
        Ashland Chemical Company          west of Avenue P                  Chemicals, dismantled 1992
        Nimco Shredding Co.               south of property line           Metal Scrap Recycling
        Devino Brothers                   west of Doremus Avenue Metal Recycling
                                          adjacent to eastern side of site



        Neither groundwater or surface water in the area is used as a drinking water source. A
        petition to reclassify groundwater within the Ironbound section of Newark from a potable
        Class II-A designation to a non-potable Class II-B Area is currently in progress (2B
        Environmental, 1997).



        1.2 Geologic Setting

        The Pitt Consol site is underlain by four major unconsolidated units which in turn overlie
                                                                                                              •
        a reddish brown shale bedrock unit (Brunswick Shale) at approximately 65 to 70 feet
        below ground surface. Unconsolidated units in ascending order (from bedrock to the
        surface), consist of a glacially derived silty clay confining unit; a fine to coarse water
        bearing sand unit (referred to in this report as. the deep water bearing unit); a semi-
        confining silty organic clay and peat layer; and finally, a heterogeneous, unconsolidated,
        water bearing fill unit (referred to in this report as historic fill and the shallow water
        bearing unit). Groundwater is often encountered within the first foot below ground
        surface. Both water bearing units apparently discharge to the Passaic River to the east.



        1.3 Regulatory/Investigative History

        The following historical summary of events is sequenced in chronological order from
        1981 to present.
            ❑    1981


                                                                                                              0

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     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 11 of 50 PageID:
                                       10092
                                                                              Project No. D2PC 7059
                                                                                       April 15, 1998
                                                                                               Page 3

S
                   • Industrial waste permit issued by Passaic Valley Sewerage Commission
                     (PVSC) with limits for phenols, Total Organic Carbon (TOC), and Total
                     Organic Halogens (TOX).
                   • RCRA Part A permit application submitted for six hazardous waste units
                     (drum storage pad, two drum storage cleaning areas, neutralization tank, "hot
                     box" recycler, and waste pile).
               0 1982
                   • Permits under authority of New Jersey Spill Prevention and Control Act,
                     Discharge Prevention and* Containment Countermeasure, and Discharge and
                     Removal Plans are issued by NJDEP.
               ❑ 1983
                   • Manufacturing ceases (Pre-ECRA)
               ❑ 1985
                   • Environmental Protection Agency (EPA) conducted a Preliminary
                     Assessment. Assessment determined that no further action was necessary and
                     no hazard was identified (see Appendix B).
                   • Preliminary Environmental Assessment conducted by DuPont to assess
                     groundwater quality and to determine the areal extent of historic lagoons
                     (Woodward Clyde Phase 1 and Phase 2 Reports).
                   • NJDEP acknowledges satisfactory closure of all RCRA units.


                   • Plant dismantlement complete
                   • NJPDES/DGW Permit issued (NJ0060704)
                   • Supplementary Hydrogeological Study (Weston)
                   • Resource Recovery Study (Mittlehouser)
               ❑ 1987-1994
                   • NPDES groundwater monitoring and quarterly compliance reports
               ❑ 1989
                   • Summary of existing environmental data (CH2M Hill)
               0   1992
                   • Site Investigation (CH2M Hill)
               ❑ 1995
                   • NJPDES/DGW Permit revoked (see section 2.9.3)



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     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 12 of 50 PageID:
                                       10093
       Project No. D2PC 7059
       April 15, 1998
       Page 4


                • USEPA Request for Information submitted (re: Diamond Alkali Superfund.
                  Site, Passaic River Study Area, Appendix B)
           ❑ 1996
                • Ashland Chemical Company Hydropunch Groundwater Sampling
           ❑ 1997
                • Groundwater Reclassification Draft Petition (2B Environmental, Inc.)
           ❑ 1998
                • Memorandum of Agreement
                • PA Submitted (with this submittal)




                                                                                                     •
                                                                                                     •
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     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 13 of 50 PageID:
                                       10094
                                                                                Project No. D2PC 7059
                                                                                         April 15, 1998
                                                                                                 Page 5


                                    2.0 HISTORICAL INFORMATION



           2.1 Site History
           The site history was determined by reviewing Sanborn Fire Maps, the title and deed
           history, government files, and the NJDEP Geographic Information System. A deed
           history for the site is summarized, in the table below.
                                           DEED HISTORY




           10        5010       1          Reilly Tar &      Pitt-Consol        8-19-55       Book 3342
                                           Chemical Corp     Chemical Co.                     Page 368


           1         5016       2          Reilly Tar &      Pitt-Consol        8-19-55 .     Book 3342
                                           Chemical Corp     Chemical Co.                     Page 368
•
           3          5016      3          Reilly Tar &      Pitt-Consol        8-19-55       Book 3342
                                           Chemical Corp     Chemical Co.                     Page 368


           Former     Roanoke    Avenue    City of Newark    Pitt-Consol         9-18-57      Ordinance
                                                             Chemical Co.                     B-1238


           Roanoke    Avenue               Pitt Consol       City of Newark      8-21-57      Ordinance
                                           Chemical Co.                                        B-1241


           Roanoke    Avenue               Pitt Consol       New Jersey          5-22-68       Book 42 79
                                           Chemical Co.      Turnpike Auth.                    Page 323


           30         5016       5A-1      James Flockhart   Passaic River       7-22-15       Book K-56
                                                             Ext. RR Co.                       Page 347
•
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     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 14 of 50 PageID:
                                       10095
      Project No. D2PC 7059
      April 15, 1998
      Page 6




                                                                                                           •
      30           5016        5A-2     Butterworth          CRR Co.         12-10-17     Book U-59
                                        Jodson Corp.         of NJ                        Page 278


      30           5016        5A-3     Geo. A. McIntash     Passaic River   1-5-16       Book W-56
                                                             Ext. RR Co.                  Page 485


      30           5016        5A-4     American Synthetic   CRR Co. of NJ   1-10-17      Book U-59
                                        Dyes & Butterworth                                Page 485


      30           5016        5A-5     Geo. A. Mclntash     Passaic River   1-5-16       Book W-56
                                                             Ext. RR Co.                  Page 485




                                                                                                           •
      Maps reviewed are listed below. Copies of the Sanborn Fire maps are included in
      Appendix A. Map coverage of the site that were reviewed are listed below.


                                          KJifsu,;rance aps
         Year             Volume                Page(s)                       Source
       1988       Newark, N.J. Vol. 8     852 - 853           EDR Sanborn, Inc. (1-800 352-0050)
       1973       Newark, N.J. Vol. 8     852 - 853           EDR Sanborn, Inc. (1-800 352-0050)
       1950       Newark, N.J. Vol. 8   . 852 - 853           EDR Sanborn, Inc. (1-800 352-0050)
       1931       Newark, N.J. Vol. 8     852 - 853           EDR Sanborn, Inc. (1-800 352-0050)
       1908                                                   EDR Sanborn, Inc. (1-800 352-0050)
       1892                                                   EDR Sanborn, Inc. (1-800 352-0050)

         Year              Type                Series                          Source
       1986       Wetlands Photomap      7.5 minute           Elizabeth Quad, NJDEP
       1977       Freshwater Wetlands    7.5 minute           Elizabeth Quad, U.S. Dept. of Interior
                  Map
                                        Graph ci InfomaEI        em
                                               al
           Year           Type                 Series /                          Source
       1996       Land Use/Wetlands CD- series 1, volume 3 NJDEP
                  ROM
                                                                                                           •
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     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 15 of 50 PageID:
                                       10096
                                                                                         Project No. D2PC 7059
                                                                                                  April 15, 1998
                                                                                                          Page 7


r                Year              Type
                                                     P..gr p.
                                                         Series
                                                                     P
                                                                                         Source
                                                                         Elizabeth Quad, USGS in coop. w/ N
               1981      Topographic              7.5 minute             Dept. of Trans.


               A letter requesting public file information on the Pitt Consol site was sent to NJDEP on
               November 18, 1997. NJDEP files were reviewed by DuPont on March 5, 1998.
               Additional contact was made with many sections of the NJDEP that had not responded
               with information from their respective sections for purpose of identifying all relevant
               information. A summary of those contacts appear below:


                                                             E
                      Go tac Sectifri        `; :a,? . mniu
                                                       ,   p~ciiafo i`'[) t                      ome
                                                                                  Reviewed files on 3/5/98
                                                                                  No additional information
               E. Molder/Central File Room      2/23/98                           found
               S. Sedlak/Water Compliance
               and Enforcement                  2/24/98                           No information available
               C. Woods/Site Remediation        2/23/98                           No new information available
 •
               J. Sailer/Emergency Response     3/3/98                            No information available

               New Jersey's Department of Environmental Protection Geographic Information System
               was reviewed.    Based on this review, it was determined that the site and the area
               surrounding the site are industrial and the land use is classified as "urban" with a
               subclassification of "other urban" or "built upland". A review of the freshwater wetland
               designation from the DEP's GIS, classified the entire site as "upland".


               Based on this review of historical information, it has been determined that the Pitt-Consol
               site has been an industrial site since the late 1800s.     A description of the industrial
               owners, operators, and products is included in section 2.2.


               In 1957, the location of Roanoke Avenue was moved. In 1969, a portion of the northern
               corner of the property was acquired by the New Jersey Turnpike Authority to
               accommodate widening of the turnpike.




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     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 16 of 50 PageID:
                                       10097
         Project No. D2PC 7059
         April 15, 1998
         Page 8


         2.2 Industrial History




                                                                                                          •
         The Pitt-Consol site has been an industrial site from the late 1800s. From the late 1800s
         until 1983, the facility manufactured road tar, cresols, phenols, and cresylic acid. In
         1983, all manufacturing at the Pitt-Consol site was discontinued. Dismantling of all
         production facilities was completed by January 1986. The site is now inactive.


         A summary of the industrial history of the site is presented below.



                                             Industrial History

                       +a e                                 ustrial + perato
               late 1880s - 1955      Judson Butterworth, Inc./Reilly Tar and Chemical, Inc.
               1955 - 1966            Pitt-Consol Chemical Company
               1966 - 1981            Pitt-Consol Chemical Company ( owned by Conoco, Inc.)
               1981 - 1983            Pitt-Consol Chemical Company (owned by DuPont)


         2.3 Raw Materials, Products, and Formulations




                                                                                                          •
         In addition to raw materials and products, Pitt-Consol generated waste material which
         consisted primarily, in terms of volume, of wastewater. The plant wastewater was
        discharged to a publicly owned treatment works (POTW): the Passaic Valley Sewarage
        Commission facility. Wastewater was discharged to PVSC via the municipal sewer
        system.

        Additional quantities of process residuals were also generated by the Pitt-Consol site. Of
        these additional residuals, only a small quantity of waste was shipped off-site. The
        majority of these residuals remained on-site and were either reworked in the production
        process or burned in the plant boilers for energy recovery. These residuals and their
        disposition is noted below.
                                                                                                          •
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CONFIDENTIAL                                                                                 DUPONT00119970
                                                                                               ALCD-PUBCOM 0007018
     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 17 of 50 PageID:
                                       10098
                                                                                       Project No. D2PC 7059
                                                                                                April 15, 1998
                                                                                                        Page 9



                   p.iaL                            j;
                       .Q

                    a. Raw materials/Products/Co-products:

                    Coal                                  — 7-20 million

                    Cresol/Cresylic Acid                  — 10-30 million
                    ortho-cresol                          13,320,750(1
                    meta-cresol                           unknown
                    para-cresol                           unknown

                    Phenols                               unknown
                    2,3,6 Trimethyl phenol                2,634,1710 )
                    2,6 Dimethyl phenol (xylenol)         2,291,698°
                    2,3 Xylenol                           unknown
                    2,4 Xylenol                           unknown
                    2,5 Xylenol                           unknown

                    Mercaptans                            unknown
                    Methanol                              unknown
:•                  Hexane                                unknown
                    Olefin                     -          unknown
                    Dibutyl para cresol                   unknown
                    Mono butyl meta cresol                unknown
                    Dinonyl ortho cresol                  unknown
                    2,4 dibutyl phenol                    unknown
                    2,6 dibutyl phenol                    unknown
                    6 butyl 2,4 methyl phenol             unknown
                    Esters, such as synthetic sperm oil   unknown
                    Cyclohexane                           unknown

                    b. By-product:

                    Mixed cresylic acid                   4,846,7941)               Reworked

                    c. Residuals:

                                                                           (2)
                   Wastewater discharged to POTW          309 million(1)            Via sewer to PVSC
                   Still bottoms (from cresol/
                    cresylic acid manufacture)            3,574,6001)               Energy recovery

0
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     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 18 of 50 PageID:
                                       10099
         Project No. D2PC 7059
         April 15, 1998
         Page 10



                                                                                                          L_J

                 Inert solids contaminated with
                 CresoUCresylic Acid                  24,000
                 Methanol absorber vent              120,000'              Energy recovery
                 Spent catalyst                       29,3001 '            Off-site recovery
                 Recovered organics                   80,000'              Reworked

        Notes:
        (1) 1981 Plant Annual Production (RCRA 3007 Questionnaire, Appendix B, Attachment
               4).
        (2) Volume was estimated from 1982 POTW quarterly discharge/monitoring reports,
               1981 data unavailable (RCRA 3007 Questionnaire, Appendix B, Attachment 4).

        2.4 Past Processes

        The Pitt-Consol site began industrial operations in the late 1800's. Little information is
        available on production operations at the facility prior to its acquisition by Pittsburgh
        Consolidated Coal Company (Pitt-Consol) in 1955. Operations at the site by Judson-
        Butterworth, Inc., and later by Reilly Tar and Chemical, Inc., are reported to have
        included the manufacture of road tar and chemicals derived from coal processing such as
        phenols, cresols and cresylic acid.


        After the facility was acquired by the Pittsburgh Consolidated Coal Company, in 1955,
        operations were upgraded and expanded. During this period, the plant processed various
        products related to coal tars and their derivatives. A new refinery completed in 1956
        allowed production at the site to be increased.


        The new refinery included a new refining process for these chemicals, based on the
        Duosol principle of refining. This process consisted of contacting crude cresylic acids
        contaminated with neutral hydrocarbons and aromatic mercaptans with aqueous methanol
        and hexane in a Scheibel tower. The aqueous methanol dissolved the cresylic acids and
        slowly descended through the tower. It was scrubbed free of mercaptans and neutral oils
        by hexane as it rose through the same tower. Next, the hexane solution was stripped off
        and the remaining raffinate, rich in aromatic mercaptans, served as the feed-stock for
        thiophenol, thiocresols and thioxylenols.   The aqueous methanolic solution was also



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                                                                                               ALCD-PUBCOM 0007020
     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 19 of 50 PageID:
                                       10100
                                                                                     Project No. D2PC 7059
                                                                                              April 15, 1998
                                                                                                    Page 11



               stripped from the refined cresylic acid and reused, as was the hexane. This plant was
               brought up to a capacity of over 33 million pounds per year.


               An alkylation plant went into production in 1961 and was in use until 1970 at the site.
               The plant was used to upgrade cresols, xylenols and aromatic mercaptans into alkylated
               derivatives which have use as rubber chemicals; antioxidants for gasoline, lube oils and
               rubber; and other chemical intermediates.


               In 1966 a synthetic plant was built by Pitt-Consol to manufacture synthetic cresylic acids
               from methanol and phenol. The original'10 million pound per year plant was upgraded to
               a capacity of 50 million pounds per year. The normal product distribution was 60 percent
               ortho cresol, 25 percent xylenol and 15 percent other methylated phenols.


               In 1971, the natural cresylic acid plant was shutdown and production in the alkylation
               plant was reduced.


•              All production processes at the Pitt-Consol site were terminated in May 1983.           All
               production facilities were dismantled by January 1986. The site is now inactive with no
               present production processes.


               Refer to Appendix B (Attachment 3) for further description of past production processes
               at the Pitt-Consol facility.



               2.5 Interpretation of Aerial Photographs

               Aerial photographs were reviewed in a study conducted by Woodward Clyde (1985) to
               determine historical land use at and adjacent to the Pitt Consol site. Low altitude aerial
               photography from 1954 to 1984 was reviewed by Woodward Clyde.




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     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 20 of 50 PageID:
                                       10101
         Project No. D2PC 7059
         April 15, 1998
         Page 12



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                                                        Aerial
                                                                            ev
                                                                                 ew
                            Year       Photo                   Source
                           1984       unknown    EROS Data Center
                           1966       unknown    EROS Data Center
                           1954       unknown    EROS Data Center
                           1971       unknown    National Oceanographic Service
                           1962       unknown    National Oceanographic Service
                           1951       unknown    National Oceanographic Service
                           1944       unknown    National Oceanographic Service
                           1970       unknown    Pitt-Consol
                           1965       unknown    Pitt-Consol
                           1958       unknown    Pitt-Consol
                           1957       unknown    Pitt-Consol
                           1955       unknown    Pitt-Consol
                           1954       unknown    Pitt-Consol




         The purpose of the aerial photo review was to identify changes in land use such as
        drainage, vegetation, and industrial structures with particular emphasis on determining         •
         former lagoon boundaries. The results of their review are summarized in Plates 2 through
         7 of the Woodward Clyde Report located in Appendix B, Attachment 4. Note that the
        scale referred to on the plates indicates the altitude, the actual plan view scale on the
        plates is approximately 1 inch equals 600 feet.


        From these plates, it can be seen that considerable changes with respect to plant building
        and tank locations occurred in the north central portion of the site. The southern half of
        the plant did not change much over the period covered by the aerial photographs (1954-
        1984). The status and extent of the lagoons did change significantly over time with all
        lagoons filled in by 1970.
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     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 21 of 50 PageID:
                                       10102
                                                                                       Project No.D2PC 7059
                                                                                                April 15, 1998
                                                                                                      Page 13

 C
                      A            Closed and filled                      -------------               -------------
                      B            Lagoon in use as a storage      Closed and filled                  -------------
                                   area for liquid material with
                                   a (- 70%) change in area,
                                   steel dikes removed
                      C            Lagoon in use as a storage      Closed and filled                  -------------
                                   area for liquid material with
                                   a (- 5%) change in area
                      D            Lagoon in use as a storage      Closed and filled                  -------------
                                   area for liquid material with
                                   a (+ 10%) change in area
                       E           Lagoon in use as a storage      Lagoon in use as a             Closed and filled
                                   for liquid materials            storage area for liquid
                                                                   material with a (+ 25%)
                                                                   change in area
                       F           Closed and filled                      -------------               -------------
                       G           Lagoon in use as a storage      Closed and filled                  -------------
                                   for liquid materials
 •
               Other aerial photography reviewed for this assessment is listed below.




                     11/19/97    !G:EOD97-1349 1-3            GEOD
                     6/ 18/95        nown                     unknown
                     03/31/91     F3630 13-111                Aerial Data Reduction Services
                     01/05/90     K3143 15-565                Aerial Data Reduction Services
                     04/20/86     0134 12-7                   Aerial Data Reduction Services
                     03/16/85     160-85 3-58                 Aerial Data Reduction Services
                     04/08/81     185-81 8-7                  Aerial Data Reduction Services
                     12/13/78     017-79 2-172                Aerial Data Reduction Services


               From 1978 to 1981 the plant appears to have had no dismantlement or construction
               activity. A plant engineering diagram dated August 19, 1981 is included as Figure 2 of
               this report. Between 1981 and 1985, sixteen of nineteen tar tanks along the southern
               portion of the site were dismantled. Considerable dismantlement activities continued
               through 1985 and by April of 1986, all buildings and other structures had been



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CONFIDENTIAL                                                                                       DUPONT00119975

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     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 22 of 50 PageID:
                                       10103
      Project No. D2PC 7059
      April 15, 1998
      Page 14




                                                                                                             •
       dismantled except the Administration building and the Change House located in the
       eastern corner of the property. A sump located in the north central portion of the site, just
       south of relocated (9/18/57) Roanoke Avenue was also still present. This sump collected
       process wastewater and surface water for discharge to the PVSC.


       Between 1986 and 1990, the Administration building and the Change House building
       were dismantled and the Devino Brothers metal recycling operation is in place along the
       former Passaic River Extension Railroad Company property located just west of Doremus
       Avenue. No changes were observed through March 1991. By 1996, vegetation had
       become established over most of the site and in the area of the former tar tanks some dark
       colored soil staining could be observed and some buses from the Nimco Bus Division
       were being temporarily stored on the site.


       DuPont had the site flown in November 1997 by GEOD Corporation to assist in
       generating a scaled site base map showing vegetation, topography, site wells and
       piezometers, building foundations, fence lines and roadways (see Figure 3). The aerial                    •
       photo that shows the site as it was in the 1996 photo reveals that the Devino Brothers
       metal recycling operation had encroached upon the Pitt Consol site storing scrapped
       vehicles and vehicle components/parts of various types without authorization. The
       unauthorized use occurred once before by Devino Brothers in 1995.



       2.6 Known Discharges

       Effluent wastewater was discharged under permit to the treatment facilities of the Passaic
       Valley Sewerage Commission (PVSC) via the PVSC municipal sanitary sewer. There are
       no other known discharges. No liquid wastes were stored in impoundments, lined or
       otherwise, subsequent to closure of the on site lagoons. All wastewater was stored on site
       in a 50,000 gallon wastewater holding tank for discharge to the PVSC. In Attachment 4
       of Appendix B (page 7, item 3), the wastewater was characterized as:
           ❑ pH                               8
           ❑ phenol                           0.1% to 1%
           ❑ methanol                          0.1% to 1%
           ❑ dimethyl ether                    0.1% to 1%                                                        C

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     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 23 of 50 PageID:
                                       10104
                                                                                      Project No. D2PC 7059
                                                                                               April 15, 1998
                                                                                                      Page 15



                  ❑ Anisole                         90 parts per million
                  ❑ Cresol                          0.1% to 1%
                  ❑ 2,4 dimethyl phenol             0.1% to 1%
                  ❑ cresylic acid polymer           0.1% to 1%
                  ❑ chromium (possible)             no analysis


               The annual volume of wastewater generated was reported to be 309MM pounds/year to
               the PVSC with annual disposal costs of $52M.



               2.7 Remediation Activities and Investigations

               Since the dismantlement of the plant, a number of studies and environmental
               investigations have been conducted. Each of these investigations and a brief summary is
               listed below.



               2.7.1 1985 Woodward-Clyde Phase I Report (June 7,1985)
               Aerial Photo Review - The historical review of aerial photography has previously been
               summarized Section 2.5 above.



                      2.7.1.1 Geophysical Survey

                      A terrain conductivity survey was conducted in the area of the former lagoon
                      identified in the aerial photographs to assist in identifying areas to conduct further
                      test borings. The report concluded that, in general, the terrain conductivity results
                      were in close agreement with the aerial photographic interpretation of the former
                      lagoon locations.

                      2.7.1.2 Soil Characterization

                      Twenty seven boring locations were drilled based on the terrain conductivity
                      survey to determine the nature and thickness of the fill material (upper water
                      bearing unit). The boring locations are shown in Figure 4. The borings were
                      drilled to a depth where natural unconsolidated material was identified, generally



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CONFIDENTIAL                                                                                     DUPONT00119977
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     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 24 of 50 PageID:
                                       10105
     Project No. D2PC 7059
     April 15, 1998
     Page 16



             a peaty, dark gray to dark brown silty clay. The fill unit thickness was determined
             to range from about two to twelve feet in thickness with the northern and central
             part of the site having a fill thickness of eight to 12 feet and the eastern portion of
             the site having a fill thickness between five and eight feet.

             2.7.1.3 Well Installation
             Seven shallow piezometers (P-1 through P-7) in the fill unit (or upper water
             bearing unit) were installed. Descriptive logs and well construction details are
             included in Appendix C, well locations are shown in Figure 4.

             2.7.1.4 Groundwater Sampling

             Water samples were collected from all seven shallow wells (P-1 through P-7). The
             samples were analyzed for total phenolics, total organic halogen, and for total
             organic carbon. Analytical results are included in Appendix D. An oily sheen was
             observed in well P-7 during the sampling event.

             2.7.1.5 Water Levels

              Water Levels were collected to determine groundwater flow direction in the
              shallow water bearing zone. The water table was found to be within 0.5 feet to 3
              feet below ground surface, with groundwater in the upper water bearing unit
              flowing toward the Passaic River. A hydraulic gradient was calculated across the
              site (from west to east) at 8 x 10-4.

              Water levels were also measured at all seven wells over the course of a week to
              determine if tidal fluctuations of the Passaic River could be observed in wells
              screened in the upper water bearing unit beneath the Pitt Consol site. No tidal
              effects were observed in any of the upper water bearing unit wells.

              2.7.1.6 Soil Sampling

               Soil samples were collected from four locations (T-1 through T-4). All sample
               locations were in the vicinity of tar tank farms (see Figure 4). Samples were
               collected from three intervals at each location (0'-1', 1'-2', and 2'-3' below
               ground surface). Samples were analyzed for total phenolics and total organic
               carbon. Sample results are presented in Appendix D.


       Corporate Remediation Group




CONFIDENTIAL                                                                                       DUPONT00119978
                                                                                                   ALCD-PUBCOM 0007026
      Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 25 of 50 PageID:
                                        10106
                                                                                  Project No. D2PC 7059
                                                                                           April 15, 1998
                                                                                                 Page 17
n
            2.7.2 1985 Woodward Clyde Phase II Report (November 8, 1985)
                  2.7.2.1 Well Installation

                  Seven shallow piezometers (P-8 through P-14) in the fill unit (or upper water
                  bearing unit), and one deep monitor well (PD-11) were installed. Descriptive logs
                  and well construction details are included in Appendix C, well locations are
                  shown in Figure 4. The shallow piezometers were installed to help in determining
                  the thickness of the fill zone.

                  2.7.2.2 Hydraulic Conductivity

                  Slug tests on fourteen shallow wells (P-I through P-15, excluding P-9) .were
                  conducted to characterize the hydraulic properties of the upper water bearing unit
                  (fill unit). The range of hydraulic conductivity varied from 6.0 x 10-1 cm/s to 5.6 x
                  10 3 cm/s.

                  2.7.2.3 Pump Tests

'40                Limited duration pump tests were conducted on four wells (P-8, P-5, P-IIS, and
                   P-13) to verify field slug tests at individual wells and to determine an averaged
                   hydraulic conductivity over a larger portion of the aquifer. In each case the
                   pumping of the tested well had no measurable effect on the associated observation
                   wells. Pumping rates varied from 1.25 to 24 gallons per minute (gpm).

                   2.7.2.4 NAPL Study

                   To determine if non-aqueous phase liquids (NAPL) were present in site wells, a
                   bottom loading bailer was used to check for LNAPL and a bilge pump with the
                   intake tubing placed at the bottom of the well was used to check for DNAPL. No
                   LNAPL was detected in any of the site wells, but DNAPL was detected in shallow
                   wells P-2, P-3, P-10, and P-1 IS. All of these wells are located in the vicinity of
                   former lagoons. Upon completion of the pump test at well P-5. NAPL was found
                   to be present. In the summary of findings, it was suspected that the NAPL was
                   pulled into the well during the course of the pump test.



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                                                                              Corporate Remediation Group




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     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 26 of 50 PageID:
                                       10107
      Project No. D2PC 7059
      April 15, 1998
      Page 18




                                                                                                          •
              2.7.2.5 Water Levels

              Two rounds of water levels were collected from 15 wells to determine
              groundwater flow direction in the shallow water bearing zone. The data from each
              round when contoured had a trough-like, expression corresponding with the
              approximate location of the sewer line in the vicinity of the former location of
              Roanoke Avenue. It was suspected the sewer line is acting as a groundwater sink
              in the upper water bearing unit due to higher permeability fill material around the
              sewer line. It was also identified as a potential migration pathway to transport
              contaminants in the upper water bearing unit off-site.

               2.7.2.6 Groundwater Sampling

               Water samples were collected from all fifteen shallow wells (P-1 through P-15)_
               The samples were analyzed for total phenolics and for total organic carbon.
               Analytical results are included in Appendix D.

       2.7.3 1986 Weston Hydrogeological Study (January 1987)                                                 •
               2.7.3.1 Well Installation
               Thirteen shallow piezometers in the fill (PZ-1 through PZ-15 excluding PZ-4 and
               PZ-8), 10 to 15 feet in depth, and three deep monitor wells (PD-1, PD-5, and PD
               -7) were installed. Descriptive logs and well construction details are included in
               Appendix C, well locations are shown in Figure 4. The shallow piezometers were
               installed to better define the hydrologic relationship of the upper water bearing
               zone to a sewer line located proximal and parallel to the former location of
               Roanoke Avenue (relocated in 1957). The three deep wells were installed to
               characterize groundwater quality in the lower water bearing zone, to determine
               hydraulic characteristics through a pumping test of the lower hydraulic zone, and
               to assess the degree of hydraulic connection between the upper and lower water
               bearing units beneath the site.

               2.7.3.2 Pump Tests

               Limited duration pump tests were conducted at four well cluster pairs (PD-1 /P- I,
               PD-5/P-5, PD-7/P-7, and PD-I I/P-I 1S) by pumping the deep well to see if there
               was any effect on the associated shallow well. In each case the pumping of the
               deep well had no measurable effect on the associated shallow well. All wells


       Corporate Remediation Group




CONFIDENTIAL                                                                                  DUPONT00119980
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     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 27 of 50 PageID:
                                       10108
                                                                                       Project No. D2PC 7059
                                                                                                April 15, 1998
                                                                                                       Page 19



                       (except PD-7) pumped dry rapidly. Estimated hydraulic conductivities ranged
                       from 4.11 x 10-3 centimeters per second (cm/s) to 7.05 x 10-4 cm/s.

                       2.7.3.3 Groundwater Sampling

                       Water samples were collected from four deep wells (the three newly installed
                       wells [six weeks after development] and PD-11). The samples were analyzed for
                       total phenolics and for total organic carbon. Analytical results are included in
                       Appendix D.

                       2.7.3.4 Water Levels

                       Water Levels were collected to determine groundwater flow direction in the
                      shallow water bearing zone and its relationship to the sewer line. The water level
                       data when contoured had a trough-like expression corresponding with the
                       approximate location of the sewer line.

               2.7.4 1986 Mittlehauser Coal Tar Waste Resource Recovery and Remediation
               Feasibility Evaluation (March 1987)

               Eighteen test pits were excavated during the Mittlehauser study in the vicinity of former
               lagoons. The physical descriptions and locations of the test pits can be found in Appendix
               C. A composite sample of coal tar and sludge collected by Mittelhauser was subjected to
               analysis for physical characteristics, total metal content, and organic analysis. The last
               procedure included analysis for base-neutral, acid extractable, and volatile organic
               compounds. Finally, the composite coal-tar sample was leached using the proposed
               TCLP procedure and the leachate analyzed for organics. The results of the performed
               analyses are presented in Appendix D.


               Two varieties of the sludge were described by Mittelhauser: a tar phase, which was
               described as pliable and shiny, with properties similar to warm asphalt; and a coal phase,
               which is hard, and breaks in a conchoidal fracture pattern. Both phases were considered
               by Mittelhauser to represent the same material, because they were found together.
               Inclusions of brick fragments were observed in the coal phase material, which were
               interpreted by Mittelhauser as evidence that the material was at one time a liquid.
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                                                                                Corporate Remediation Group




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     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 28 of 50 PageID:
                                       10109
         Project No. D2PC 7059
         April 15, 1998
         Page 20



         The physical characteristics analysis showed the sludge material to have a high solids and
         ash content, and relatively low BTU value, of 7,620 BTU/lb, which would severely limit
         its use as a fuel supplement. This was attributed by Mittelhauser as evidence that the
         material was derived from tank bottoms, and that it had been mixed with soil material.


         The Mittelhauser metals analysis showed the coal-tar material to be relatively low in
         metal content for a coal derived product. The highest individual metal concentrations
         were for lead and barium, at 580 and 110 mg/ kg, respectively. Mittelhauser concluded
         that metals would not be a limiting factor to any potential beneficial reuse of the coal
         material.


         The organic analysis showed that the material sampled was typical of coal tars. :Eleven
         individual . base-neutral organics, or polynuclear aromatic hydrocarbons (PAHs) were
         identified in the coal-tar sample with a total concentration in excess of 40,000 mg/kg.
         However, all the compounds identified exhibited relatively low aqueous solubility. Five
         compounds were identified in the TCLP extract at a total concentration of 3.32 mg/l.
        None of the compounds exceeded the Toxicity Characteristic limits.                                   0
        No acid extractable compounds were identified in the coal tar sample above detection
        limits. Low levels of acid compounds were found in the TCLP extract, but these were
        below the proposed limits. In the volatile organic fraction of the analysis, six compounds
        were identified in the coal tar sample, with a total concentration of 4.71 mg/kg.

        The results of the composite coal-tar sample analysis suggest that the material may not be
        suitable for use as a fuel supplement, due to low BTU content. No other potential
        beneficial reuse of the material, such as asphaltic concrete, has been investigated.


        The chemical analysis performed on the sample indicate that the material has the typical
        composition of coal tars. With the exception of flash point, analytic data suggest that the
        materials on-site will not likely be classified as hazardous. The low flash point measured
        was considered by Mittelhauser as possibly unrepresentative of the material, because the
        tar has been exposed to weathering for an extended period of time. The concentrations of
        organics measured in the TCLP extract were generally below the proposed TCLP limits.
        Benzene was the only compound that slightly exceeded its TCLP limit.



        Corporate Remediation Group




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                                                                                                  ALCD-PUBCOM 0007030
         Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 29 of 50 PageID:
                                           10110
                                                                                    Project No. D2PC 7059
                                                                                             April 15, 1998
                                                                                                    Page 21
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               2.7.5 1987-1994 NPDES Groundwater Monitoring

               The groundwater monitoring program at the site is summarized in section 2.9.3 of this
               report. Trend plots for total phenolics and for total organic carbon are also included in
               Appendix E.



               2.7.6 1989 CH2M Hill Summary of Existing Environmental Data

               As of the date of this report, Du Pont had been the owner of the Pitt-Consol Site for 8
               years. Significant data had been accumulated on hydrogeologic conditions, composition
               and distribution of fill materials, and quality of groundwater beneath the site. Data and
               results of these previous investigations have been submitted to the NJDEP. This report
               summarized and provided a comprehensive data summary available to this point (1989).
               The conclusions of the summary report are presented below:
                   ❑ All structures on the site have been razed. Little is known of the early operations
                     which began in the late 1800s. Several lagoons were observed in aerial
•                    photographs of the site from the 1940s to the 1970s, in the west, north, and central
                     parts of the site. Neither the function of the lagoons nor the method of closure is
                     known.
                   ❑ A layer of fill exists over the entire site. Borings, wells, and test pits installed
                     throughout the site have been used to characterize the fill. The thickness varies
                     from less than 2 feet at the southwestern corner, to approximately 10 feet in the
                     center and northeast portions of the site.
                   ❑ Much of the fill consists of rubble, including bricks, concrete, and wood debris in
                     a sandy matrix. Other materials, including coal-like and tar-like materials have
                     been observed in areas of the site, primarily on the western half of the facility. An
                     oily, creosote-like staining was observed throughout much of the northern half of
                     the site.
                   ❑ The site was constructed on filled land, over tidal marshes adjacent to the Passaic
                     River and Newark Bay. The marsh deposits consist of a peaty              This peaty
                                                                                        clay.
                     clay is approximately 25 feet thick in the  central and eastern portions of the site,
                     but apparently thins out along the west (inland) side.
                   ❑ The peaty clay is underlain by medium to coarse sands, probably deposited in a
                     fluvial environment. The sand unit is approximately 5 to 10 feet thick beneath the
                     central and eastern parts of the site, but thickens to the west, where .it may
                     interfinger with the peaty clay.
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    CONFIDENTIAL                                                                                DUPONT00119983
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     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 30 of 50 PageID:
                                       10111
       Project No. D2PC 7059
       April 15, 1998
       Page 22


           ❑ Glacial sediment, composed of silty clay approximately 20 feet thick, underlies
             the sand unit. This material is likely to underlie the entire site, although borings
             deep enough to penetrate it have been drilled only in the central portion of the site.
           ❑ Bedrock beneath the silty clay is the Brunswick Formation, composed of reddish-
             brown shale and sandstone. The bedrock surface was encountered at 60 feet
             below the ground surface. The upper 10 feet of the Brunswick at the site are
             heavily weathered, although competent below that depth.
           ❑ The fill unit forms an unconfined water-bearing zone. In parts of the site, the
             upper zone is saturated to grade. The maximum unsaturated zone observed is
             approximately 3 feet. Hydraulic conductivities of 5.6 x 10-3 to 6.0 x 10-1 cm/sec
             were measured in slug tests and short-term pumping tests. Flow in the upper zone
             is strongly influenced by a sewer line that traverses the northern part of the
             property.
           ❑ Groundwater samples from the fill unit consistently exceed the NJPDES
             groundwater limits for TDS (500 mg/1). With the exception of well P-1, in the
             extreme northeast corner of the site, the samples also exceed the NJPDES limit for
             total phenols (0.03 mg/1). Based on one analysis, well P-10 exceeds the limit for
             volatile organics (0.1 mg/1). Wells P-5, P-7, and P-10 exceed the limit for total
             toxic organic pollutants (0.05 mg/1). No appreciable change in water quality has
             been observed throughout the NJPDES monitoring program.
           ❑ No floating NAPLs have been observed at the site, although an oily sheen on
             groundwater has been reported. Dense NAPLs have been observed in shallow
             wells in the west, north, and central parts of the site.
           ❑ The sand unit beneath the peaty clay forms a lower water-bearing zone. A range
             of hydraulic conductivities from 4.3 x 10-5 to 2.0 x 10-3 cm/sec has been measured
             in this zone. An apparent inability of this zone to sustain pumping suggests that
             the sands may exist in discontinuous lenses, rather than as a single layer.
             Hydraulic gradients of the lower water-bearing zone are not well defined.
           ❑ Groundwater samples from the lower water-bearing zone consistently exceed the
             NJPDES limit for total phenol and TDS. The high TDS values, may be related in
             part to proximity to tidal water. Volatile organic compounds exceeded the limit
             of 0.01 mg/l in all deep wells. The highest concentrations were observed near the
             center of the site, and at the western and eastern extremities. Major qualitative
             and quantitative differences in composition of the volatile organic compounds in
             the upper and lower water-bearing zones strongly suggests an off-site contribution
             to the deeper unit.

        Investigations to date have shown the fill material to display a high degree of physical
        heterogeneity. The overall thickness and general composition have been described from               •



        Corporate Remediation Group




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     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 31 of 50 PageID:
                                       10112
                                                                                        Project No. D2PC 7059
                                                                                                 April 15, 1998
                                                                                                        Page 23



               logs of borings and wells placed throughout the site. Most of the fill is composed of
               reworked soil (clay, silt, sand, and gravel) and building rubble (brick, wood, concrete,
               and glass). The fill is saturated throughout most of its thickness. Depth to the water table
               varies from approximately 3 feet to less than 0.5 foot. Various coal-derived products can
               be found in the fill. The distribution of those, however, varies significantly throughout
               the site.


               An assumption from early investigations that the majority of coal tar and coal sludge
               would be located in areas identified as former lagoons from historic aerial photographs of
               the site has been hard to substantiate based on the Mittelhauser test pit investigation.
               Most of the coal-tar materials encountered- at the site during this investigation were
               outside the believed lagoon locations. Some coal-tar material was found within lagoon F
               and isolated pockets of the material were observed in lagoon B. However, a general lack
               of correlation exists between the Phase I aerial photograph interpretation and the results
               of the Mittelhauser study. This lack of correlation would be consistent with the following
               hypotheses:
                   ❑ Tar and sludge may have been removed from the former lagoons . prior to
                     backfilling.
                   ❑ Tar and sludge may have been displaced into surrounding areas during the
                     backfilling.
                  ❑ All the former lagoons identified from the aerial photograph interpretation may
                    not have been used for sludge disposal.

                  ❑ Other lagoons, potentially containing tar and sludge, may have predated the
                    earliest photographs used for the interpretation (1944).

               2.7.7 1992 CH2M Hill Site Investigation Summary & Report of Findings (February
               1992)
                       2.7.7.1 Well Search

                       A well record search was conducted of wells within a 0.5 mile radius of the site.
                       Approximately 300 well records were obtained. No production, recovery, or
                       domestic wells were identified within a 0.5 mile radius of the site.



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     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 32 of 50 PageID:
                                       10113
         Project No. D2PC 7059
         April 15, 1998
         Page 24



                 2.7.7.2 Tidal Study

                A tidal study was conducted to determine potential tidal effects on groundwater
                flow. Four deep wells (PD-1, PD-5, PD-7, and PD-11) and their corresponding
                shallow wells (P-1, P-5, P-7, and P-11S) were monitored. Barometer
                measurements were also collected to account for water level responses to changes
                in barometric pressure. The study concluded that there were no tidal effects on the
                shallow water bearing unit and there was some effect on the lower water bearing
                unit. Though the tidal study indicated a tidal influence on water levels in the lower
                water bearing unit, the study concluded that at no time did the tidal effects cause
                the hydraulic gradient to change enough to significantly affect the predominant
                flow direction across the site. The study also concluded that the tidal impact
                quickly dissipates across the site in the westward direction, with wells installed in
                the northwest corner of the site not affected by tidal fluctuations at all.

                2.7.7.3 Well Installation

                One additional well was installed in the lower water bearing unit (PD-2) in the
                northern corner of the property where no other deep wells existed. The well
                provided additional lithologic, stratigraphic, and groundwater quality information
                for the site.

                2.7.7.4 Groundwater Sampling

                Four deep wells (PD-1, PD-2, PD-5, PD-7, and PD-11) and their corresponding
                shallow wells (P-1, P-2, P-5, P-7, and P-11S) were sampled. Each well had
                groundwater analyzed for VOCs and BN/AEs. Results indicated the presence of
                VOCs as well as BN/AEs in both the upper (unconfined) and lower (semi-
                confined) water bearing units. The primary volatile constituents include benzene,
                toluene, ethylbenzene, and a single occurrence of chlorobenzene. The acid
                extractable fraction consisted primarily of phenolic compounds, and napthalene
                and a variety of base neutral compounds. Volatile concentrations in the lower
                water bearing unit tended to be an order of magnitude higher than in the
                corresponding shallow wells. Phenol and napthalene concentrations tended to be
                one to three orders of magnitude greater than in the shallow zone. Base neutral
                compounds had much greater concentrations in the upperzone compared to the
                lower water bearing zone.


        Corporate Remediation Group




CONFIDENTIAL                                                                                   DUPONT00119986
                                                                                                ALCD-PUBCOM 0007034
     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 33 of 50 PageID:
                                       10114
                                                                                     Project No. D2PC 7059
                                                                                              April 15, 1998
                                                                                                    Page 25


                      2.7.7.5 Groundwater Flow

                       Groundwater flow in the lower water bearing unit was determined to be generally
                       to the southeast across the site. Water levels in the upper water bearing unit were
                      not contoured, but were used to indicate that a downward vertical gradient exists
                      between the upper and lower water bearing units.

                      2.7.7.6 Hydraulic Conductivity

                      Slug tests on the five deep wells were conducted to characterize the hydraulic
                      properties of the lower water bearing unit. The range of hydraulic conductivity
                      varied between 4.4 x 10,3 cm/s to 3.9 x 104 cm/s.

                      2.7.7.7 Soil Sampling

                      Five surface soil samples were collected from former tanks 13 and 21 (in AOC
                      19, see Figure 4 for sample locations) to evaluate the impact on soil, if any, from
                      PCBs reported in sludge from the former tanks. The soils were collected from the
•                     six-inch interval immediately below ground surface. All samples were found to be
                      non-detect for PCBs.

                      2.7.7.8 Lagoon Boundary Delineation
                      Test pits were excavated to characterize the depth, extent and physical properties
                      of the former lagoons. The test pit locations and descriptive logs can be found in
                      Appendix C.

               2.7.8 1995 USEPA Request for Info (Re: Diamond Alkali Superfund Site, Passaic
               River Study Area

               In response to an Environmental Protection Agency (EPA) request for information a
               document was prepared addressing site ownership, permits, manufacturing processes,
               waste practices, etc. A copy of this response has been included as Appendix B.



               2.7.9 1996 Ashland Chemical Company (Re: Results of Hydropunch Groundwater
               Sampling) (August 5,1996)
               In August 1995, 11 groundwater samples were obtained by representatives of Ashland
               Chemical Company       and analyzed for benzene. The samples were collected from


                                                                               Corporate Remediation Group




CONFIDENTIAL                                                                                 DUPONT00119987
                                                                                                ALCD-PUBCOM 0007035
     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 34 of 50 PageID:
                                       10115
         Project No. D2PC 7059
         April 15, 1998
         Page 26



         locations approximately 50 to 60 feet eastward of the Pitt Consol fence line along Avenue
         P. The samples were obtained between the southwest corner of the site (slightly south of
         P-5) along a linear line north eastward extending to just beyond the intersection of
         Foundry Street and Avenue P. The benzene concentrations ranged from 0.79 ug/l to 32
         ug/l, with the higher concentrations generally found in the flow direction indicated on the
         map provided by Ashland Chemical Company (east northeast).



         2.7.10 Investigative Costs

         The cumulative cost of these investigations and ongoing maintenance/operational costs is
         estimated to be 1.5 million dollars to date beginning when the plant ceased operation
         (excluding costs associated with plant dismantlement). In addition, DuPont has paid
         approximately 803,000 dollars in property taxes over the past 5 years.



         2.8 Sampling Data

         Sample data has been compiled from various environmental reports summarized above
         and included in Appendix D. Groundwater data has been compared to New Jersey Class.
         II a groundwater criteria although a petition to reclassify the groundwater for the area has
         been submitted to reclassify the groundwater to IIb. Reported concentrations that
         exceeded the comparison criteria are identified within brackets. Three tables have been
         provided in Appendix ID--one for soil results, another for groundwater (detected
         compounds only), and lastly all groundwater results. .



         2.9 Permits
         2.9.1 RCRA Permit #NJD004948188

         A RCRA Part A permit application (Permit #NJD004948188) for the Pitt Consol site was
        submitted to EPA (Region II) on November 19, 1980. The permit was submitted for 6
        hazardous waste units: drum storage pad, two drum storage cleaning areas, neutralization
        tank, "hot box" recycler, and waste pile. In April 1985, the RCRA facilities were closed
        and approved as complete closure by the NJDEP. Copies of correspondence letters are
        included in Appendix B (Attachment 12).
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        Corporate Remediation Group




CONFIDENTIAL                                                                                   DUPONT00119988
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        Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 35 of 50 PageID:
                                          10116
                                                                                                        Project No. D2PC 7059
                                                                                                                 April 15, 1998
                                                                                                                        Page 27
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              2.9.2 Passaic Valley Sewage Commission (PVSC) Permit #20401072

              With the exception of general run off, all plant effluent discharge was via the Passaic
              Valley Sewerage Commission's sanitary sewer system. The permit was canceled in
              1986, corresponding to the closure of the facility.



               2.9.3 New Jersey Pollutant Discharge Elimination System (NJPDES) Permit #
               NJO060704

               In a letter dated April 8, 1986, Pitt Consol received a draft NJPDES permit from the State
               of New Jersey Department of Environmental Protection (Permit No. NJ0060704). The
               permit required the implementation of a groundwater monitoring program, the installation
               of new monitoring wells, and the implementation of a pump test on monitor well P-1 ID
               while monitoring three other deep wells. Groundwater monitoring requirements consisted
               of monitoring four (4) shallow wells and four (4) deep wells on a quarterly basis for the
               following parameters:



               Top of Casing Elevation                                                      determine once, report quarterly
               Depth to Water                                                               quarterly
               Toxic Pollutants*                                          **                once with first sampling
               Total Phenolics                                        0.3 ppm               quarterly
               pH                                                    5 - 9 S.U.             quarterly
               Total Dissolved Solids (TDS)                           500 ppm               quarterly
               Total Organic Carbon (TOC)                                                   quarterly
               Total Organic Halogen (TOX)                                                  quarterly

               * - GCMS scan for volatile organic compounds, acid extractable compounds plus identification of the next ten largest
               peaks, and base/neutral organic compounds, GC analysis for pesticides and PCBs, and analyses for metals and total
               cyanides.
               " Total concentration for all volatile organic chemicals shall not exceed 10 parts per billion (ppb) and the
               concentration for all volatiles, acid extractables, and base neutrals shall not exceed 50 ppb.


               Groundwater monitoring began in 1987 and continued quarterly through 1994.
               Noncompliance with permit limitations above have been reported for each quarter. In a
               letter dated February 15, 1995, the NJPDES permit for Pitt Consol was officially
               revoked. The facility's former Discharge to Groundwater (DGW) permit was determined
40  .          by the NJDEP to meet the NJPDES permit exemption criteria established under NJPDES



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CONFIDENTIAL                                                                                                        DUPONT00119989
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     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 36 of 50 PageID:
                                       10117
      Project No. D2PC 7059
      April 15, 1998
      Page 28



       rule amendment N.J.A.C. 7:14A-6.14(b). DuPont discontinued groundwater monitoring
       following the fourth quarter 1994.



       2.10 Enforcement Actions

       On February 29, 1984, an Administrative Complaint was filed for alleged violations of
       Section 6(e) and 15 of the Toxic Substances Control Act. See attachment 10 of Appendix
       B.



       2.11 Fill Areas

       In the late 1800's, the area now known as the "Ironbound Area" , which includes the Pitt
       Consol site, was a salt marsh (the Newark Salt Marsh) similar to those observed today
       along the New Jersey Turnpike in northern New Jersey. The Newark Salt marsh had 60
       acres filled by 1914 (2B Environmental, 1997). Fill material used to fill the marshes
       included garbage, ash, slag, refuse and dirt. The draft petition to reclassify groundwater' in
       the Ironbound section of Newark also states, "Regular application of crude oil was
       applied to standing pools of water in the meadows and elsewhere to kill developing
       mosquito larvae".



       2.12 Current Site Conceptualization
       The current conceptual model for the former Pitt Consol site is illustrated in two cross
       sections, Figures 5 and 6, and summarized below. Groundwater piezometric maps, one
       for each water bearing unit, are presented in Figure 7 and 8.
            ❑ The Pitt Consol site lies within the "Historic Fill" area of Newark.
            Li The fill (upper water bearing unit) consists of 2 to 10 feet of sand, gravel, silt,
               construction debris, glass, wood (all of which are often stained black). Tarry
               material is abundant throughout the subsurface in the fill unit.
            ❑ The site is located within the area defined as the "Ironbound Area" which has
              been petitioned to have groundwater classified as New Jersey Class II-B (non-
              potable)
            ❑ There are no drinking water receptors of site groundwater.
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        Corporate Remediation Group




CONFIDENTIAL                                                                                     DUPONT00119990
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     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 37 of 50 PageID:
                                       10118
                                                                                 Project No. D2PC 7059
                                                                                          April 15, 1998
                                                                                                Page 29



               ❑ There are two water bearing units beneath the site. Both the shallow (unconfined)
                 and deep (semi-confined) water bearing units beneath the Pitt Consol site
                 discharge to the Passaic River.
               ❑ The shallow water bearing unit is not tidally influenced, flows generally eastward,
                 and flow is influenced by a sewer line that trends along former Roanoke Avenue.
               ❑ The deep water bearing unit is tidally influenced on the eastern portion of the site,
                 although the tidal effect is not significant enough to change the hydraulic gradient
                 from west to east. Groundwater flows generally east southeast.
               ❑ Material disposed of in the former lagoons may represent a source to
                 groundwater.
               ❑ Ashland Chemical, located directly upgradient of the site, has BTEX,
                 chorobenzene, and other chlorinated solvent groundwater contamination.
               ❑ Shallow groundwater constituents of concern (COCs), based on comparison with
                 New Jersey Groundwater II-A criteria are arsenic, benzene, acenapthelene,
                 anthracene, benzo(a)anthracene, benzo(a) pyrene, benzo(b)fluoranthene,
                 benzo(k)fluoranthene , benzo(ghi)perylene, chrysene, fluorene, fluoranthene,
                 indeno(1,2,3-cd)pyrene, methylene chloride, and toluene. Other COCs without II-
                 A criteria are napthalene and total phenolics.
S              ❑ Deep groundwater constituents of concern (COCs), based on comparison with
                 New Jersey Groundwater II-A criteria are: arsenic, lead, benzene, chlorobenzene,
                 2,4 dimethylphenol, methylene chloride and toluene. Other COCs without II-A
                 criteria are napthalene and total phenolics.




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CONFIDENTIAL                                                                                 DUPONT00119991
                                                                                             ALCD-PUBCOM 0007039
     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 38 of 50 PageID:
                                       10119
      Project No. D2PC 7059
      April 15, 1998
      Page 30

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                           3.0 AREA OF CONCERN IDENTIFICATION



       Areas of Concern (AOC's) were defined based upon similarities in the activities,
       feedstocks, products and wastes that occurred or were managed within each area.
       Historical Sanborn maps, plant maps and aerial photographs were used to
       identify these areas. While many of the process, storage and waste disposal units
       still are identifiable today based on current aerial photographs and field
       observations, some actual unit boundaries are uncertain and can be estimated
       only. Chemical constituents of concern for identified AOC's were determined
       from review of site history, including process, storage and waste disposal
       practices, coupled with limited soil and groundwater data analysis. Based on
       the information above, AOC boundaries were outlined on Figure 4 and described
       in the following table.

                                                 in
         Q              +                        e         e er c               ons     e   p O
         1     Manufacturing/storage area     Yes      see Figure 4    PAHs, naphthalene, phenolics,
               consisting of process areas,                            volatiles, As, Pb, TPH
               tank farms, UST's, boiler
               house, laboratory and
               warehouses
         2     Pitch Storage and Tar          Yes      see Figure 4    PAHs, naphthalene, phenolics,
               Tank Farm                                               volatiles, As, Pb
         3     Former Lagoons                 Yes      see Figure 4    PAHs, naphthalene, phenolics,
                                                                       volatiles, As, Pb

       Generally, the chemical constituents of concern detected in shallow water table
       monitoring wells were:
             ❑ Benzene
             ❑ Toluene
             ❑ Methylene Chloride
             ❑ Napthalene
             ❑ Phenolics
             ❑ PAH's
             ❑ Arsenic
                                                                                                         •
       Corporate Remediation Group




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     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 39 of 50 PageID:
                                       10120
                                                                                     Project No. D2PC 7059
                                                                                              April 15, 1998
                                                                                                    Page 31



               The same constituents of concern were detected in deeper pleistocene sand aquifer
               monitoring wells with the addition of chlorobenzene and lead.


               Figure 4 shows common boundaries between AOC's, indicating that there is no
               discernible distinction between AOC's based on surficial features, chemical constituent
               occurrence or soil/groundwater data. In addition, there appears to be no unaffected area
               between AOC's that could serve as locations for background sampling.
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     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 43 of 50 PageID:
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     Case 2:22-cv-07326-MCA-LDW Document 291-18 Filed 01/31/24 Page 45 of 50 PageID:
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